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                                                                                                       **E-filed 10/6/06**
               1       Scott H. Frewing, State Bar No. 191311
                       Kelly Going, State Bar No. 233355
               2       Baker & McKenzie LLP
                       660 Hansen Way
               3       Palo Alto, CA 94304-1044
                       Telephone: +1 650 856 2400
               4       Facsimile: +1 650 856 9299
                       scott.h.frewing@bakernet.com
               5       kelly.going@bakernet.com

               6       Attorneys for Defendant
                       Emily Trevethan
               7

               8                                     UNITED STATES DISTRICT COURT

               9                                  NORTHERN DISTRICT OF CALIFORNIA

             10                                              SAN JOSE DIVISION

             11        UNITED STATES OF AMERICA,                           Case No. CR 05-00516-JF
             12                      Plaintiff,                            STIPULATION AND ORDER RE-
                                                                           SCHEDULING SENTENCING
             13               v.                                           HEARING
             14        EMILY TREVETHAN, et al.,
             15                      Defendant.
             16

             17               IT IS HEREBY STIPULATED between the parties and based upon such stipulation it is

             18        hereby ordered, that the defendant’s sentencing hearing, currently scheduled for Wednesday,

             19        //

             20        //

             21        //

             22        //

             23        //

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Baker & McKenzie LLP
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   660 Hansen Way                                                                                   Case No CR 03-20110-RMW
 Palo Alto, CA 94304                                              STIPULATION AND ORDER RE-SCHEDULING SENTENCING HEARING
   +1 650 856 2400
                           Case 5:05-cr-00516-EJD        Document 50          Filed 10/06/06     Page 2 of 2



               1       October 18, 2006 at 9:00 a.m. be vacated and a new sentencing hearing date of Wednesday,

               2       November 29, 2006 at 9:00 a.m. is hereby set.

               3                It is so stipulated.

               4

               5       Dated: September 29, 2006                           Respectfully submitted,
               6                                                           BAKER & McKENZIE LLP
               7

               8                                                           By: /s/ Scott H. Frewing
                                                                              Scott H. Frewing
               9                                                              Attorneys for Emily Trevethan
             10

             11        Dated: September 29, 2006
             12
                                                                           By: /s/ John S. Glang
             13                                                               John S. Glang
                                                                              Assistant U.S. Attorney
             14

             15        It is so ORDERED.
             16        Dated:      10/6/06

             17

             18
                                                                           By: __________________________________
             19                                                                JEREMY FOGEL
                                                                               UNITED STATES DISTRICT JUDGE
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Baker & McKenzie LLP
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 Palo Alto, CA 94304
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                                                                  STIPULATION AND ORDER RE-SCHEDULING SENTENCING HEARING
